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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                            :
                                                    :   Criminal No. 17-46 (RBW)
       v.                                           :
                                                    :
KASSIM TAJIDEEN,                                    :
                                                    :
       Defendant.                                   :


               NOTICE OF INTENT TO REQUEST JUDICIAL REMOVAL

       NOTICE IS HEREBY GIVEN TO KASSIM TAJIDEEN (“defendant”) and to his

attorneys of record, including Chibli Mallat, Paul G. Cassell, William J. Murphy, William W.

Taylor III, Erick R. Delinsky, and Steven N. Herman, that upon conviction of the defendant for a

violation of Title 18 United States Code, Section 1956(h), the United States of America shall

request that the Court issue a Judicial Order of Removal against the defendant pursuant to Section

238(c) of the Immigration and Nationality Act of 1952, as amended, 8 U.S.C. § 1228(c).


                                     Respectfully submitted,

                                             JESSIE K. LIU
                                             United States Attorney
                                             DC Bar No. 472845

                                     By:     ____/S/_________________________
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                            And

                            DEBORAH L. CONNOR
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                      By:   ____/S/_________________________
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